  
 

ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 .PagelD.13 Page 1 of 20

_ UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
, Case:2:09-cr-20041
UNITED STATES OF AMERICA, . Judge: Tarnow, Arthur J

MJ: Majzoub, Mona K

Filed: 01-29-2009 At 4:13 PM
Plaintiff, INDI USA V. SEALED MATTER (1 DFT) T

AM

v. HONORABLE:
THOMAS McKINNEY, _ VIOLATIONS:

Defendant WIRE FRAUD
(18 U.S.C. 1343, 1346, 2)

THEFT OF TRADE SECRETS
(18 U.S.C. 1832, 2)

FALSE STATEMENTS
(18 U.S.C. 1001)

/
INDICTMENT
THE GRAND JURY CHARGES:

COUNT 1 |
(Wire Fraud, 18 U.S.C, 1343, 1346, 2)

At times pertinent to this Indictment:
General Allegations

l. Harland Robertson Company (“HR”) had an office in Livonia, Michigan,
and operated a manufacturing facility in Harrison Township, Michigan. HR

had been in business for more than 100 years, and it designed,

20

 
ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.14 Page 2 of 20

manufactured, and sold industrial chucks and chuck assemblies to the
assembly and production industry, including but not limited to, the
automotive industry. HR sold its chucks and chuck assemblies in interstate
and foreign commerce.

As used herein, a chuck or a chuck assembly was a mechanism that held a
moving part for the purpose of performing a machining or manipulation
operation against a stationary tool. The HR chucks were heavy duty, high
precision machines, which were used for accurate and high quality work.

HR also manufactured and marketed chucks under agreements with

Cushman Industries and its successors in interest.

HR’s Draw-Down Chuck

_ HR designed, manufactured, and sold its own brand Draw-Down Chuck

with a unique seal mechanism to extend its life and allow for higher
precision operation. HR’s Draw-Down Chuck had a clamping mechanism
which could effectively grip (hold) the item to be machined or manipulated.
HR invested in research and development to create its Draw-Down Chuck.
HR, operating via its paid engineering consultant, developed a new
| proprietary design for a Draw-Down Chuck which offered customers

improved quality, reduced scrap (waste), increased tool life, and reduced

 

 
ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.15 Page 3 of 20

  

wear on machines where the Draw-Down Chuck would be installed. .

6. The HR Draw-Down Chuck incorporated trade secrets under state and
Federal law, and it was HR’s intellectual property. HR undertook
reasonable steps to protect its trade secrets and intellectual property in the
Draw-Down Chuck. Some of HR’s protective measures included, among
others, physical security of its premises, limiting access to the trade secrets
only to those who needed access to perform their job duties, and computer
security policies.

7. Because of its superior design and innovations, HR’s Draw-Down Chuck
had independent economic value, separate and apart from its development
costs, and it was to be used in products to be sold in interstate and foreign
commerce. The confidential trade secret information and intellectual
property derived its independent economic value, both actual and potential,
from not being generally known to the public.

HR’s Index Chuck

8. HR designed, manufactured, and marketed its own brand Index Chuck.
HR's Index Chuck had a clamping mechanism which could effectively grip
(hold) the item to be machined or manipulated, and it could also rotate the |

item so that it could be machined or manipulated on more than one side or

 

 
ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.16 Page 4 of 20

angle.

HR invested in research and development to create its Index Chuck. HR,
operating via its paid engineering consultant, developed a new proprietary
design for an Index Chuck which offered customers improved quality.

The HR Index Chuck incorporated trade secrets under state and Federal law,
and it was HR’s intellectual property.. HR undertook reasonable steps to |
protect its trade secrets and intellectual property in the Index Chuck. Some
of HR’s protective measures included, among others, physical security of its
premises, limiting access to the trade secrets only to those who needed
access to perform their job duties, and computer security policies.

Because of its superior design and innovations, HR’s Index Chuck had

_ independent economic value, separate and apart from its development costs,

and it was to be used in products to be sold in interstate and foreign
commerce. The confidential trade secret information and intellectual
property derived its independent economic value, both actual and potential,
from not being generally known to the public.

The Cushman Industries Chucks

The Cushman Industries chucks which HR manufactured and sold

incorporated trade secrets under state and Federal law, and involved

4

 

 
   
   
   
   
  
   
 
   
   
  
   
  

ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.17 Page 5 of 20

intellectual property. HR undertook reasonable steps to protect the trade
secrets and intellectual property regarding the Cushman Industries chucks
which it manufactured and sold. Some of HR’s protective measures
included, among others, physical security of its premises, limiting access to
the trade secrets only to those who needed access to perform their job
duties, and computer security policies. |

13, The Cushman Industries chucks which HR manufactured and sold had
dependent economic value, separate and apart from the development
costs, and they were to be used in products to be sold in interstate and
foreign commerce. The confidential trade secret information and .
intellectual property derived its independent economic value, both actual
and potential, from not being generally known to the public.
McKinney’s Employment at HR

14. In or about October 2001, defendant Thomas McKinney began employment
with HR as a sales engineer, working at HR’s offices in Livonia. Upon
joining HR, McKinney agreed to be bound by a HR’s “Confidentiality and
Intellectual Property Policy and Agreement.”

15. At HR, McKinney was provided with a desktop computer, an e-mail

account, and internet access

  
 
    
  
    
  
  
  
  
 
 
  
   
   

16.

17.

18.

19.

ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 ~PagelD.18 Page 6 of 20

At HR, McKinney initially made telephone calls to existing customers (and
potential new customers) and scheduled sales appointments for HR’s
owner/operator (HR’s previous main salesman) and himself.

At HR, McKinney was also assigned to update HR’s Customer Contact List
and generate a new Customer Contact List including names of the
purchasing officers at various companies, their addresses, telephone
numbers and other confidential information about the customer (i.e., HR’s
previous sales to the company, its bid prices, orders, marketing strategy,
etc.). After its creation, McKinney and HR’s owner/operator frequently
used the updated Customer Contact List in their sales efforts.

The HR Customer Contact List was a trade secret under state and Federal
law, and involved intellectual property. HR undertook reasonable steps to
protect the trade secrets and intellectual property regarding the Customer
Contact List. Some of HR’s protective measures included, among others, |
physical security of its premises, limiting access to the trade secrets only to
those who needed access to perform their job duties, and computer security
policies.

HR’s Customer Contact List had independent economic value, separate and

apart from its development costs. The confidential trade secret information

6

 

 

  
   

ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.19 Page 7 of 20

and intellectual property derived its independent economic value, both |
actual and potential, from not being generally known to the public.

20. In making sales presentations, to protect its trade secrets and intellectual
property, HR used so-called assembly drawings or product brochures ~
which used general drawings (i.e., not trade secrets or intellectual property).
These materials did not contain trade secrets, intellectual property,
proprietary designs or so-called design level information.

21. It was also one of McKinney’s duties at HR to convert paper, hard copy
drawings into an electronic format files using CAD or AUTOCAD software.
McKinney scanned paper drawings into digital format so they could be
edited or printed on a computer equipped with AUTOCAD software. In
performing this job, McKinney had access to HR’s trade secrets and
intellectual property, including but not limited to, HR’s proprietary
drawings for its Draw-Down Chuck and its Index Chuck.

22. In performing this job, McKinney also had access to HR’s trade secret and
intellectual property drawings regarding the Cushman Industries chucks
which HR manufactured and sold.

23. While McKinney worked at HR, it attempted to sell its newly-designed

Draw-Down Chuck to numerous automotive Original Equipment

 

 
ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.20 Page 8 of 20

24,

25.

26.

Manufacturers, including Ford, GM, and Daimler Chrysler, as well as to
other companies, such as Caterpillar, Inc. and Dana Corporation.

HR successfully sold its Draw-Down Chucks to GM, which purchased

_ several on a trial basis. The HR Draw-Down Chucks performed well, and

HR hoped to sell more of the assemblies to GM.

While McKinney worked at HR, it attempted to sell its newly-designed
Index Chuck to Vickers Engineering, Inc.

McKinney's Fiduciary Duties to HR

As an employee of HR, McKinney occupied a fiduciary position of trust,
confidence and obligation. In performing his duties for HR, McKinney
owed to HR the fiduciary duties of fidelity, honesty, candor, loyalty, and
care. McKinney was obligated to provide HR with his undivided loyalty |
free of conflicts of interests or potential conflicts of interests. McKinney
was also obligated to protect and preserve HR’s property, including its
physical property, such as [A] the design drawings for the Draw-Down |
Chuck, the Index Chuck or the Cushman Industries chucks, and [B] HR’s
Customer Contact List, as well as its intangible property, including its trade
secrets and intellectual property. Specifically, McKinney was obligated not

to steal or remove from HR’s premises its tangible or intangible property.

 

 
ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.21 Page 9 of 20

McKinney was obligated: [A] not to transfer HR’s tangible or intangible
property to another company or an actual or potential competitor to HR, [B]}
not to transfer HR’s trade secrets or intellectual property to any other
company or actual or potential competitor of HR.
HR had an intangible right to McKinney’s honest services in the operation

- of the company’s business. As such, McKinney owed to HR under the law |
of Michigan and the common law, a duty to: [A] refrain from the use of his
position for private financial gain; [B] disclose conflicts of interest and
other material information that resulted in his direct or indirect personal

financial gain in matters over which he had authority; [C] refrain from

holding financial interests that conflicted with the conscientious —

performance of his duties; [D] refrain from stealing or alienating HR's
tangible or intangible property, and [E] refrain from transferring HR’s
tangible or intangible property to any other company, whether it was an
actual or potential competitor of HR’s.

McKinney’s Theft of Trade Secrets and Intellectual Prop erty

 

In or about December 2004 or January 2005, the exact date being unknown
to the Grand Jury, McKinney contacted a Detroit-area company (“Company

X”) which manufactured chucks, seeking a new sales and marketing job.

 

 
  

30.

31.

32.

se 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.22 Page 10 of 20

In or about January 2005, the exact date being unknown to the Grand Jury,
Company X offered. McKinney a new job, and McKinney accepted the
offer. |
McKinney did not notify HR of his job offer, or his plans to leave HR and
start work with Company X. Instead, McKinney continued to hold himself
out to HR as a faithful, conscientious employee who was working solely for
it,

In or about January 2005, the exact date being unknown to the Grand Jury,

- McKinney, without authority, removed and stole physical (paper) design

drawings from HR’s office in Livonia, and transported them to his residence
in Brighton, Michigan. The drawings which McKinney stole from HR,
involved, among other items, the HR Draw-Down Chuck, the HR Index
Chuck, and the Cushman Industries chucks, which were trade secrets and
intellectual property. McKinney stole the HR Draw-Down Chuck, the HR
Index Chuck, and the Cushman Industries chuck drawings with the intent to
provide a benefit to Company X (and/or himself, as a salesman for
Company X), because Company X might be able to manufacture and market
the HR Draw-Down Chuck, the HR Index Chuck, and the Cushman

Industries chucks. McKinney did not disclose this fact to HR.

10

 
  

se 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.23_ Page 11 of 20

33. Inor about January 2005, the exact date being unknown to the Grand Jury,
McKinney, without authority, removed and stole HR’s Customer Contact
List from HR’s office in Livonia, and transported it to his residence in
Brighton, Michigan. McKinney stole the HR Customer Contact List with
the intent to provide a benefit to Company X (and/or himself as a salesman
for Company X), because, with HR’s Customer Contact List, Company X
would be able to contact potential customers. McKinney did not disclose
this fact to HR.

34. | In ot about January 2005, the exact date being unknown to the Grand Jury,

but while McKinney was still employed by HR, McKinney began to contact

HR’s customers (and potential customers), claiming to be a full time

employee of Company X, and offered to sell chucks similar or identical to

those which HR sold.
35. Onor about January 11, 2005, McKinney submitted a business proposal to
Caterpillar, Inc. acting on behalf of Company X, to sell it Cushman
Industries chucks. McKinney did not disclose this fact to HR; and HR had
made similar business proposals to the same company. |
36. Onor about January 16, 2005, McKinney sent an e-mail, along with the

drawing of a HR Draw-Down Chuck, to an employee at Company X.

1]

 
37.

38.

39,

40,

41.

42.

  

ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.24 Page 12 of 20

McKinney did not disclose this fact to HR.

On or about January 23, 2005, McKinney sent an e-mail, along with a
business proposal for Caterpillar, Inc. to an employee at Company X.
McKinney did not disclose this fact to HR.

On or about January 24, 2005, McKinney signed an “Inside Sales Contract”
with Company x, establishing the terms of his compensation for his new
job. McKinney did not disclose this fact to HR.

On or about January 24, 2005, from his desktop computer at HR, McKinney
sent electronic files of HR chuck drawings to his personal account at

Yahoo!, located in California (tpm48843@yahoo.com).

On or about January 24, 2005, McKinney submitted a business proposal to

Caterpillar, Inc. (via BDI Industrial Supplies), on behalf of Company X.

McKinney did not disclose this fact to HR; and HR had made similar
business proposals to the same company.

On January 26, 2005, from his desktop computer at HR, McKinney

forwarded five e-mails from his HR e-mail account to his account at Yahoo!

On or about January 26, 2005, from his desktop computer at HR, McKinney
sent two electronic files of HR drawings to his personal account at Yahoo!,

located in California. One electronic file contained 80 subfiles, and the

12

 

 
   

@ 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.25 Page 13 of 20

second file contained 19 subfiles, including HR’s trade secret information
and intellectual property: [A] for HR’s Draw-Down Chucks, [B] for HR’s
Index Chucks, and [C] for the Cushman Industries chucks which HR
manufactured and marketed. |

43. McKinney did not report to HR his transfer of its corporate property to his |
Yahoo! account or his theft of the electronic files and drawings.

44. On or about Friday, January 28, 2005, McKinney provided his resignation
of employment to HR’s owner/operator, falsely claiming that he |
(McKinney) wished to quit selling chucks and go to work with his brother-
in-law in the home construction business.

45. Later that same day (January 28, 2005), HR’s owner/operator asked .
McKinney for an update on several pending proposals to sell HR’s chucks
to large manufacturing concerns; McKinney falsely replied that the leads
were all cancelled or were otherwise closed.

46. After McKinney started work at Company X, and until an unknown date in
late 2006, he continued to attempt solicit business from the same companies
he had previously called upon while at HR, as well as contacting new leads
for Company X, including: [A] for his new company, attempting to sell the

HR Draw-Down Chuck, although under the brand name of Company X, [B]

13

 

 
47.

48.

49.

   

Se 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.26 Page 14 of 20

for his new company, attempting to sell the HR Index Chuck, although
under the brand name of Company X, and and [C] for his new company,
attempting to sell the Cushman Industries chucks, although under the
auspices of Company X.

In seeking business from companies which dealt with HR (or which HR
might logically seek out as new customers), Company X and McKinney
used advertising materials and brochures which were copies of HR’s |
materials; and in some cases, Company X and McKinney submitted bids
and proposals copying a similar HR proposal.

And after McKinney began work for Company X, at McKinney’s
recommendation, the company attempted to retain the engineering |
consultant who had worked for HR and invented the HR Draw-Down Chuck
and the HR Index Chuck.

The Scheme and Artifice to Defraud HR

From in or about January 2005 through an unknown date, the exact dates
being unknown to the Grand Jury, McKinney, aided and abetted by others.
known and unknown by the Grand Jury, devised a scheme and artifice to
defraud and to obtain money and property by means of false and fraudulent

pretenses, representations or promises (which were material to HR),

44

 
50:

   

MSe 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.27 Page 15 of 20

specifically to defraud HR of: [A] its property, that is, its trade secrets and
intellectual property in the HR Draw-Down Chuck, the HR Index Chuck,
the Cushman Industries chucks which HR manufactured and sold, and HR’s
Customer Contact List, and [B] HR’s intangible right to McKinney’s honest
services in the execution of his duties as a faithful HR employee.
As more fully set forth below, on or about the date listed below, in the
Eastern District of Michigan, Southern Division, and elsewhere, Defendant
THOMAS McKINNEY
having knowingly devised and intending to devise, a scheme and artifice to -
defraud (including.a scheme and artifice to defraud HR of the intangible
right to McKinney’s honest services), and to obtain money and property by

means of false and fraudulent pretenses, representations and promises, for

_ the purposes of executing the scheme and artifice, and attempting to do so,

knowingly transmitted and caused to be transmitted by means of wire
communications in interstate commerce, certain writings, signs, signals,

pictures and sounds, to wit:

fs)

 

 

 
  

ase 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.28 Page 16 of 20

 

 

Count | Date and Item Sent by Interstate Wire Communication

 

 

On or about January 26, 2005, McKinney, from HR’s office in
Livonia, using an interstate wire communication facility, transmitted —
information in the form of 99 subfiles (including HR’s trade secrets
and intellectual property) to his personal account at Yahoo! in
California

 

 

 

51.

52.

All in violation of Title 18, United States Code, Sections 1343, 1346, 2.

COUNT 2
(18 U.S.C. 1832(a)(1), 2,
Theft of Trade Secrets)

The allegations contained in paragraphs 1 through 49 above are
incorporated by reference as if set forth fully herein:
On or about January 26, 2005, in the Eastem District of Michigan, Southern
Division, and elsewhere, Defendant

THOMAS MCcKINNEY,
did knowingly and intentionally, with the intent to convert information that
included trade secrets belonging to HR, that were related to and included in
products produced for and placed in interstate and foreign commerce, to the
economic benefit of a person other than the owner thereof, and intending
and knowing that the offense would injure the owner of the trade secrets,
did transmit, deliver, send, communicate and convey such information, and

attempt to do so, to wit, by sending HR’s Draw-Down Chuck, HR’s Index

16

 
   

Se 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.29 Page 17 of 20

Chuck, and Cushman Industries chuck files to McKinney’s personal
Yahoo! e-mail account.

Allin violation of Title 18, United States Code, Sections 1832(a)(1),
(a)(2) and (a)(3) and Section 2. . .

| COUNT 3
(False Statements: 18 U.S.C. 1001)

53, The allegations contained in paragraphs | through 49 above are
incorporated by reference as if set forth fully herein.

54. On or about August 29, 2005, as specified below, in the Eastern District of
Michigan, Southern Division, Defendant

THOMAS McKINNEY

in a matter within the jurisdiction of the Federal Bureau of Investigation |
(“FBI”), U.S. Department of Justice, part of the executive branch of the
Government of the United States, did knowingly and willfully make
material false, fictitious or fraudulent statements and representations, such
statements and representations being material to the topics then under

investigation by the FBI, as follows:

17

 

 
se 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.30 Page 18 of 20

 
 

 

Specification # False Statements and Representations

 

#A . ' | McKinney falsely stated that he left HR’s employment

: because he did not feel safe and that an HR employee had
threatened him, when in truth and in fact, as McKinney
well knew, that was not the reason why he left HR’s
employment .

 

#B . _ | McKinney falsely stated that he did not sign an
intellectual property rights agreement upon joining HR,
when in truth and in fact, McKinney knew that he had
signed HR’s “Confidentiality and Intellectual Property
Policy and Agreement” upon joining HR

 

#C McKinney falsely stated that he never sent any HR
drawings via his personal e-mail account at

tpm48843 @yahoo.com, when in truth and in fact, ©
McKinney knew that he had sent HR drawings via that

account

 

#D McKinney falsely stated that he had sent a few assembly
drawings via his personal (Yahoo!) e-mail account in
approximately 2004 because HR’s e-mail server was
down at the time and he needed to work on the files at
home, when in truth and in fact, McKinney knew that he
had sent HR files to his Yahoo! e-mail account as
recently as January 2005, and, at the time, the HR e-mail
server had not been out of operation |

 

#E _ | McKinney falsely stated that he did not transfer any HR

files in electronic format to Company X, when in truth
and in fact, McKinney knew that he had transferred HR ©
files in electronic format to Company X

 

 

 

 

All in violation of Title 18, United States Code, Section 1001.

18

 

 
se 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.31 Page 19 of 20

THIS IS A TRUE BILL

s/ Foreperson Grand Jury
FOREPERSON

GRAND JURY

TERRENCE BERG
Acting United States Attorney

SHELDON N. LIGHT
Chief, Economic Crimes Unit

s/ CHRISTOPHER L. VARNER
Assistant United States Attorney
211 West Fort Street, Suite 2001
Detroit, MI 48226
Phone: (313) 226-9684

Fax: (313) 226-2873

_ E-Mail: Christopher. Varner@usdoj.gov
Bar Id: 413642

 

Dated: January 29, 2009

19

 

 
 

Case 2:09-cr-20041-AJT-MKM ECF No. 3 filed 03/12/09 PagelD.32 Page 20 of 20

)

United States District Court Criminal Case Co:
Eastern District of Michigan Cae no Art hur J

MJ: Majzoub, Mona K _
Filed: 01-29-2009 At 04:13 PM

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form toca’ INDI USA V. SEALED MATTER (1 DFT) T

AM

 

 

   

 

Companion Case Number:

 

This may be a companion case based upon LCrR 57.10 (b){4)": Judge Assigned:

 

 

Yes X No AUSA’s Initials: CLV

 

 

Case Title: U.S. v. THOMAS McKINNEY
County where offense occurred : WAYNE

Check One: X Felony O Misdemeanor LO Petty -
__X_Indictment/___Information --- no prior complaint.
___Indictment/____Information - - based upon prior complaints [ ]
___Indictment/___Information --- based upon LCrR 57.10 (d) {Complete Superseding section below].

 

Superseding to Case No: Judge:

 

 

Original case was terminated; no additional charges or defendants.

Corrects errors; no additional charges or defendants. ,

Involves, for plea purposes, different charges or adds counts.

Embraces same subject matter but adds the additional defendants or charges below:

Oo0cdo

Defendant name Charges

 

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case. _ A —_
January 29, 2009 CFE.
Date CHRISTOPHER L. VARNER
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226-3277
Phone: (313) 226-9684
Fax: (313) 226-2873

Email: Christopher. Varner@usdoj.gov
Bar ID: 413642 (D.C.)

' Companion cases are matters in which it appears that (1) substantially similar evidence wilt be offered at trial, (2) the same or related parlies are present, and the cases arise out of the
same transaction or eccurrence. Cases may be companion cases even though one of them may have already been terminated.
520/04

 
